14

U.S. Bankruptcy Courl - District of Kansas
Courtroorn Minure Sheet
5!24;'2017
Hon. Janioe Miller Karlin, Presiding

01:30 PM

 

Case Information:
16-41356 Corey Lee Gralne and Dana Renee Granle Chapter: 13

Judge: JMK Filed: 11129,1'2016 Pln Confirmed:

 

Appcarances:
JGary E. I-linck representing Corey Lee Grame (Debtor)
J'Gary E. Hinck representing Dana Renee Grame (Joint Debtor)
JJan Harnilton (Trustee)

 

Issue(s):

[1] Chapter 13 Voluntary Petition lndividual . Receipt Number Insta|l, Fee Amount $310 Filed
by Corey Lee Grame, Dana Renee Grame Debtor Declaration Re: Electronlc Filing due by 1216;2016.
Chapter 13 Plan due by 12£13£'2[)16.

 

Notestecision:

Court overrules objection to confirmation (Doc. 25), for failure to prosecute at this or prior
hearings. Plan Confirmed.

 

Courtroorn Deputy: Joyce Ridgeway
ECRO Reporter: Dana Colornbo

Case 16-41356 Doc# 39 Filed 05/24/17 Page 1 of 1

